                                                          Case 2:23-cv-02113-JAD-EJY Document 19 Filed 06/28/24 Page 1 of 2




                                                      1    FISHER & PHILLIPS LLP
                                                           SCOTT M. MAHONEY, ESQ.
                                                      2    Nevada Bar No. 1099
                                                           300 S. Fourth Street, Suite 1500
                                                      3
                                                           Las Vegas, NV 89101
                                                      4    Telephone: (702) 252-3131
                                                           E-Mail Address: smahoney@fisherphillips.com
                                                      5    Attorney for Defendant
                                                      6
                                                                                  UNITED STATES DISTRICT COURT
                                                      7
                                                                                          DISRICT OF NEVADA
                                                      8
                                                           REGINA YOUNG, an individual,        )            Case No: 2:23-cv-02113-JAD-EJY
                                                      9                                        )
                                                     10                        Plaintiff,      )            STIPULATION AND ORDER TO
                                                                                               )            EXTEND TIME TO SUBMIT
                                                     11          vs.                           )            DISMISSAL
                                                                                               )                  (Second Request)
FISHER & PHILLIPS LLP




                                                     12    NP SUNSET, LLC d/b/a SUNSET         )
                   300 S Fourth Street, Suite 1500
                     Las Vegas, Nevada 89101




                                                           STATION HOTEL & CASINO, a           )
                                                     13
                                                           Domestic Limited Liability Company, )
                                                     14                                        )
                                                                            Defendants.        )
                                                     15    __________________________________ )

                                                     16            IT IS HEREBY STIPULATED AND AGREED by and between the parties’
                                                     17
                                                           counsel of record that the parties will have up to and including July 22, 2024 to submit a
                                                     18
                                                           Stipulation and Order for Dismissal. The is the second request for an extension. A
                                                     19
                                                           settlement agreement has essentially been finalized, but Plaintiff’s counsel is out of the
                                                     20

                                                     21

                                                     22

                                                     23

                                                     24

                                                     25

                                                     26

                                                     27

                                                     28
                                                                                                      -1-
                                                           FP 51112106.1
                                                          Case 2:23-cv-02113-JAD-EJY Document 19 Filed 06/28/24 Page 2 of 2




                                                      1    office until July 8, 2024.

                                                      2      FISHER & PHILLIPS, LLP                  HATFIELD & ASSOCIATES, LTD.
                                                      3

                                                      4      By: /s/ Scott M. Mahoney                By: /s/ Trevor J. Hatfield
                                                             Scott M. Mahoney, Esq.                  Trevor J. Hatfield, Esq.
                                                      5      300 S. Fourth Street, Suite 1500        703 S. Eighth Street
                                                             Las Vegas, Nevada 89101                 Las Vegas, NV 89101
                                                      6      Attorneys for Defendant                 Attorneys for Plaintiff
                                                      7

                                                      8                                         IT IS SO ORDERED:

                                                      9
                                                                                                UNITED STATES DISTRICT JUDGE
                                                     10
                                                                                                Dated: June 28, 2024
                                                     11
FISHER & PHILLIPS LLP




                                                     12
                   300 S Fourth Street, Suite 1500
                     Las Vegas, Nevada 89101




                                                     13

                                                     14

                                                     15

                                                     16

                                                     17

                                                     18

                                                     19

                                                     20

                                                     21

                                                     22

                                                     23

                                                     24

                                                     25

                                                     26

                                                     27

                                                     28
                                                                                                    -2-
                                                           FP 51112106.1
